 

FILED
CHARLOTTE, NC

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

CHARLOTTE DIVISION NOV 6 2020
US
CRIMINAL NO.: 3:19¢r74-RIC WESTERN DISTRaS ee ne

UNITED STATES OF AMERICA )

) CONSENT ORDER AND

v. ) JUDGMENT OF FORFEITURE

) PENDING RULE 32.2(0)(2)

MOHAMMAD AMIR ELLER )

BASED UPON the Defendant’s plea of guilty and finding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant has or had a possessory interest or other legal interest in the property, IT IS HEREBY
ORDERED THAT:

—

1, The following property is forfeited to the United States pursuant to 21 U.S.C. §
853, provided, however, that forfeiture of specific assets is subject to any and all third party
petitions under 21 U.S.C. § 853(n), pending final adjudication herein:

« Approximately $12,181 in United States currency;
e One Big Tex utility trailer; and

¢ Two Polaris 1000XP 4-wheelers/ATV’s, all items seized during the
investigation on or about January 3, 2019.

2. The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

3. If and to the extent required by Fed. R. Crim. P. 32,2(b)(6), 21 U.S.C. § 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

4, Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

5. Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this order, the United States
Attorney’s Office is authorized to conduct any discovery needed to identify, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

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6, As to any specific assets, following the Court’s disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R, Crim, P, 32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

The parties stipulate and agree that the aforementioned asset(s) constitute property derived
from or traceable to proceeds of Defendant’s crime(s) herein and are therefore subject to forfeiture
pursuant to 2] U.S.C § 853. The Defendant hereby waives the requirements of Fed. R. Crim. P.
32,2 and 43(a) regarding notice of the forfeiture in the charging instrument, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment against Defendant. If
the Defendant has previously submitted a claim in response to an administrative forfeiture
proceeding regarding any of this property, Defendant hereby withdraws that claim. If Defendant
has not previously submitted such a claim, Defendant hereby waives all right to do so.

R, ANDREW MURRAY
UNITED STATES ATTORNEY

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BENJAMIN BAIN-CREED °~ <<“-—* MOHAMMAD AMIR ELLER
Assistant United States Attorney a)

 

al! P, Wt,
Attorney for Defendant

Bet ) Carell

HONORABLE Lads J. CONRAD, JR.
UNITED STATES DISTRICT JUDGE

Signed this the if _day of November, 2020

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